Case 4:25-cr-00031-MSD-RJK           Document 1         Filed 05/12/25    Page 1 of 3 PageID# 1
                                                                                     FILED
                                                                                IMOPFNl COURT



                        IN THE UNITED STATES DISTRICT COUR T                     MAY I 2 2025
                        FOR THE EASTERN DISTRICT OF VIRGIN] \
                                                                            n ERK U S. DISTRICT COURT
                                                                                Mp’wpnRTNEWS.VA
                                     Newport News Division


 UNITED STATES OF AMERICA,                          ) CRIMINAL NO. 4;25-cr-3i
                                                    )
                   V.                               )
                                                    )    18U.S.C. § 111(a)(1)
 DANIEL EDWARD WALSH,                               )    Assaulting, Resisting or Impeding Certain
                                                    )    Officers or Employees
                                                    )    (Count 1)
                   Defendant.                       )
                                                    )   18U.S.C. § 113(a)(4)
                                                    )   Assaults within Maritime and Territorial
                                                    )   Jurisdiction
                                                    )   (Count 2)


                                         INDICTMENT




                        MAY 2025 TERM - at Newport News, Virginia

THE GRAND JURY CHARGES THAT:


                                          COUNT ONE


               (Assaulting, Resisting or Impeding Certain Officers or Employees)

       On or about the 26th day of February, 2025, in the Eastern District of Virginia, the

defendant, Daniel Edward Walsh, did forcibly assault, resist, oppose, impede, intimidate, and

interfere with any person designated in 18 U.S.C. § 1114, to wit: Veteran’s Administration

Medical Center Intermediate Care Technician 1, while engaged in his official duties, such act

involving physical contact with the victim.

            (In violation of Title 18 United States Code, Section 111(a)(1), a felony.)
Case 4:25-cr-00031-MSD-RJK          Document 1        Filed 05/12/25     Page 2 of 3 PageID# 2




                                         COUNT TWO


                     (Assaults within Maritime and Territorial Jurisdiction)

       On or about the 26th day of February, 2025, in the Eastern District of Virginia, the

defendant, Daniel Edward Walsh, did commit assault by striking, beating or wounding Victim 2.

        (In violation of Title 18 United States Code, Section 113(a)(4), a class A misdemeanor.)




                                                2
Case 4:25-cr-00031-MSD-RJK         Document 1        Filed 05/12/25                   Page 3 of 3 PageID# 3

                                                 Pursuant to the E-Govemment Act,
                                                the original of this page has been filed
                                                   under seal in the Clerk's Onice.


United States v. Daniel Edward Walsh
Criminal No. 4:25-cr- 31



                                                              A TRUE BILL:




                                                                          REDACTED COPY

                                                              FOREPERSON
ERIK S. SIEBERT
UNITED STATES ATTORNEY




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